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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

IN RE:                              )
                                    )
DEBRA JONES,                        )                Chapter 13
                                    )
      Debtor.                       )                Case No. 16-11241-SDB
                                    )
____________________________________)
                                    )
FIRST OF THOMSON, INC.,             )
                                    )                CONTESTED MATTER
      Movant,                       )
                                    )
v.                                  )
                                    )
DEBRA JONES and HUON LE, Trustee, )
                                    )
      Respondents.                  )



                    MOTION FOR RELIEF FROM AUTOMATIC STAY


         COMES NOW, First of Thomson, Inc. (“Movant”), by and through its undersigned counsel

and moves this Court, pursuant to 11 U.S.C. Section 362, for relief from the automatic stay with

respect to certain real property of Debtor having an address of 706 Railroad Street, Warrenton, GA

30828 (the “Property”), for all purposes allowed by law, the Note (defined below), the Security

Deed (defined below), and applicable law, including the right to foreclose. In support of this

Motion, Movant shows the Court as follows:

         1. Debtor executed and delivered an Amortized Note and Security Agreement, in favor of

            Movant, in the original principal amount of $44,500.00 or around November 7, 2002

            (the “Original Note”). A true and correct copy of the Original Note is attached hereto

            as Exhibit “A”.
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      2. The Original Note was renewed on or around January 24, 2005, January 2, 2010, and

         January 25, 2015. The renewals are attached hereto as Exhibit “B” and collectively

         referred to as the Notes.

      3. At the time of the execution of the Original Note, Debtor executed a Deed to Secure

         Debt (the “Security Deed”), in favor of Movant. A copy of the Security Deed is attached

         hereto as Exhibit “C”.

      4. The Security Deed secures Debtor’s obligations under the Note, and renewals thereof.

         The Security Deed was recorded in Book 6Y, Page 505, Warren County Superior Court

         and contains the legal description of the Property.

      5. As of January 24, 2019, the outstanding amount of the Notes was $35,872.37 not

         including any attorneys’ fees and expenses.

      6. Debtor has failed to make 28 post-petition payments of $600.00 per month for a total

         post-petition arrearage of $16,800.00 through the January 1, 2019 payment date.

      7. Movant reserves all rights to seek an award or allowance of attorneys’ fees and

         expenses in accordance with the applicable loan documents, the Bankruptcy Code, and

         state law.

      8. Debtor valued the Property at $45,815.00 in her schedules.

      9. Cause exists for relief from the automatic stay as: (a) Movant’s interest in the Property

         is not adequately protected; (b) Post-petition payments have not been received by

         Movant; and (c) the Property is not necessary for an effective reorganization.

         WHEREFORE, Movant prays that this Court: (1) issue an Order terminating stay and

         granting relief, to Movant, from the stay for all purposes allowed by law, the Note, the

         Security Deed, including but not limited to allowing Movant to proceed under
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         applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain

         possession of the Property; (2) that Movant be entitled to file a deficiency claim, if

         appropriate; (3) that the Order lifting stay be binding and effective despite any

         conversion of this bankruptcy to a case under any other chapter of the Bankruptcy

         Code; (4) that the provisions of Bankruptcy Rule 4001(a)(3) be waived; (4) for relief

         of complying with the provisions of Bankruptcy Rule 3002.1; and (5) for such other

         relief as the Court deems proper.


                                                  /s/ Nathan E. Huff
                                                  Nathan E. Huff
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                                                  Attorney for First of Thomson, Inc.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this date I have electronically filed the foregoing with the Clerk of

Court using the CM/ECF system which will automatically send an email notification of such filing

to all attorneys of record and by depositing a true and correct copy in the US Mail with sufficient

postage affixed thereto to the parties not served electronically to the parties listed below:

       Huon Le
       PO Box 2127
       Augusta, GA 30903

       Ms. Debra Jones
       706 Railroad St.
       Warrenton, GA 30824

       Leiden & Leiden
       330 Telfair St
       Augusta, GA 30901



This 29th day of January, 2019.
                                                              /s/ Nathan E. Huff
                                                              Nathan E. Huff
